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                                   16                       UNITED STATES DISTRICT COURT
                                   17                      CENTRAL DISTRICT OF CALIFORNIA

                                   18   RAUL RUIZ,                              Case No.:
                                   19                    Plaintiff,             COMPLAINT FOR DAMAGES
                                   20                         v.                FOR VIOLATION OF:

                                   21   CONSUMER PORTFOLIO                        1.) THE FAIR DEBT
                                                                                      COLLECTION PRACTICES
                                   22   SERVICES, INC.,                               ACT, 15 U.S.C. §§ 1692, ET
                                                                                      SEQ.; AND,
                                   23                    Defendant.
                                                                                  2.) THE ROSENTHAL FAIR
                                   24                                                 DEBT COLLECTION
                                                                                      PRACTICES ACT, CAL. CIV.
                                   25                                                 CODE §§ 1788, ET SEQ.
                                   26                                           JURY TRIAL DEMANDED
                                   27
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                                    1                                          INTRODUCTION
                                    2   1.      The United States Congress has found abundant evidence of the use of
                                    3           abusive, deceptive, and unfair debt collection practices by many debt
                                    4           collectors, and has determined that abusive debt collection practices contribute
                                    5           to the number of personal bankruptcies, to marital instability, to the loss of
                                    6           jobs, and to invasions of individual privacy. Congress wrote the Fair Debt
                                    7           Collection Practices Act, 15 U.S.C. § 1692 et seq, to eliminate abusive debt
                                    8           collection practices by debt collectors, to insure that those debt collectors who
                                    9           refrain from using abusive debt collection practices are not competitively
                                   10           disadvantaged, and to promote consistent State action to protect consumers
                                   11           against debt collection abuses.
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                                   12   2.      The California legislature has determined that the banking and credit system
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                                   13           and grantors of credit to consumers are dependent upon the collection of just
                                   14           and owing debts and that unfair or deceptive collection practices undermine
                                   15           the public confidence that is essential to the continued functioning of the
                                   16           banking and credit system and sound extensions of credit to consumers. The
                                   17           Legislature has further determined that there is a need to ensure that debt
                                   18           collectors exercise this responsibility with fairness, honesty, and due regard
                                   19           for the debtor’s rights and that debt collectors must be prohibited from
                                   20           engaging in unfair or deceptive acts or practices.1
                                   21   3.      Plaintiff RAUL RUIZ (“Plaintiff”) through Plaintiff’s attorneys, brings this
                                   22           lawsuit to challenge the actions of Defendant CONSUMER PORTFOLIO
                                   23           SERVICES, INC. (“Defendant”) with regard to attempts by Defendant, a debt
                                   24           collector, to unlawfully and abusively collect a debt allegedly owed by
                                   25           Plaintiff, and this conduct caused Plaintiff damages.
                                   26   4.      Plaintiff makes these allegations on information and belief, with the exception
                                   27           of those allegations that pertain to a Plaintiff, or to a Plaintiff's counsel, which
                                   28   1
                                            Cal. Civ. Code §§ 1788.1 (a)-(b)

                                        COMPLAINT FOR DAMAGES                                                      PAGE 1 OF 7
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                                    1         Plaintiff alleges on personal knowledge.
                                    2   5.    While many violations are described below with specificity, this Complaint
                                    3         alleges violations of the statutes cited in their entirety.
                                    4   6.    Unless otherwise stated, Plaintiff alleges that any violations by Defendant
                                    5         were knowing and intentional, and that Defendant did not maintain procedures
                                    6         reasonably adapted to avoid any such violation.
                                    7   7.    Unless otherwise indicated, the use of any Defendant’s name in this
                                    8         Complaint includes all agents, employees, officers, members, directors, heirs,
                                    9         successors, assigns, principals, trustees, sureties, subrogees, representatives,
                                   10         and insurers of that Defendant named.
                                   11                                  JURISDICTION AND VENUE
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                                   12   8.    Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331, 15 U.S.C. §
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                                   13         1682k and 28 U.S.C. § 1367 for supplemental state claims.
                                   14   9.    This action arises out of Defendant’s violations of (i) the Fair Debt Collection
                                   15         Practices Act, 15 U.S.C. §§ 1692, et seq. (“FDCPA”); and, (ii) the Rosenthal
                                   16         Fair Debt Collection Practices Act, Cal. Civ. Code §§ 1788, et seq.
                                   17         (“RFDCPA”).
                                   18   10. Because Defendant conducts business within the State of California, personal
                                   19         jurisdiction is established.
                                   20   11. Venue is proper pursuant to 28 U.S.C. § 1391 for the following reasons: (i)
                                   21         Plaintiff resides in the City of Nipomo, County of San Luis Obispo, State of
                                   22         California which is within this judicial district; (ii) the conduct complained of
                                   23         herein occurred within this judicial district; and, (iii) Defendant conducts
                                   24         business within this judicial district and is incorporated in the City of Irvine,
                                   25         County of Orange, State of California which is also within this judicial
                                   26         district.
                                   27   ///
                                   28   ///


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                                    1                                          PARTIES
                                    2   12. Plaintiff is a natural person who resides in the County of San Luis Obispo,
                                    3        State of California, from whom a debt collector sought to collect a consumer
                                    4        debt which was due and owing or alleged to be due and owing from Plaintiff,
                                    5        and is a “debtor” as that term is defined by California Civil Code § 1788.2(h).
                                    6        In addition, Plaintiff is a “consumer” as that term is defined by 15 U.S.C. §
                                    7        1692a(3).
                                    8   13. Plaintiff is informed and believes, and thereon alleges, that Defendant is
                                    9        located in the State of California.
                                   10   14. Plaintiff is informed and believes, and thereon alleges, that Defendant, in the
                                   11        ordinary course of business, regularly, on behalf of themselves or others,
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                                   12        engage in “debt collection” as that term is defined by California Civil Code §
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                                   13        1788.2(b), and are therefore “debt collectors” as that term is defined by
                                   14        California Civil Code § 1788.2(c); and, 15 U.S.C. § 1692a(6).
                                   15   15. This case involves money, property or their equivalent, due or owing or
                                   16        alleged to be due or owing from a natural person by reason of a consumer
                                   17        credit transaction. As such, this action arises out of a “consumer debt” and
                                   18        “consumer credit” as those terms are defined by Cal. Civ. Code § 1788.2(f);
                                   19        and, 15 U.S.C § 1692a(5).
                                   20                                 FACTUAL ALLEGATIONS
                                   21   16. At all times relevant, Plaintiff is an individual residing within the State of
                                   22        California.
                                   23   17. Plaintiff is informed and believes, and thereon alleges, that at all times
                                   24        relevant, Defendant conducted business in the State of California.
                                   25   18. Sometime prior to 2014, Plaintiff allegedly incurred financial obligations to
                                   26        the original creditor that were money, property, or their equivalent, which are
                                   27        due or owing, or alleged to be due or owing, from a natural person to another
                                   28        person and were therefore “debt(s)” as that term is defined by California Civil


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                                    1         Code §1788.2(d), and a “consumer debt” as that term is defined by California
                                    2         Civil Code §1788.2(f).
                                    3   19. Sometime thereafter, Plaintiff allegedly fell behind in the payments allegedly
                                    4         owed on the alleged debt. Plaintiff currently takes no position as to whether
                                    5         or not this alleged debt was actually owed.
                                    6   20. Following Plaintiff’s alleged delinquency, the original creditor allegedly
                                    7         transferred, placed or assigned Plaintiff’s alleged debt to Defendant for
                                    8         collection.
                                    9   21. As a result of Plaintiff’s alleged delinquency, Plaintiff has received both
                                   10         written and telephonic communications from Defendant attempting to collect
                                   11         Plaintiff’s alleged debt. These letters and telephone calls constitute “debt
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                                   12         collection” as that phrase is defined by Cal. Civ. Code § 1788.2(b); and, 15
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                                   13         U.S.C. § 1692a(6) and a “communication” as defined by 15 U.S.C. §
                                   14         1692a(2).
                                   15   22. On June 16, 2015, Plaintiff informed Defendant via certified mail that
                                   16         Plaintiff refused to pay Plaintiff’s alleged debt alleged to be owed to
                                   17         Defendant.
                                   18   23. Thereafter, Defendant received Plaintiff’s refusal to pay letter at 7:11 a.m. on
                                   19         June 24, 2015.
                                   20   24. Despite receiving Plaintiff’s written request, Defendant has continued to
                                   21         initiate telephonic communications attempting to collect Plaintiff’s alleged
                                   22         debt, including calls on July 6, 2015; and, July 7, 2015. Such contact after a
                                   23         refusal to pay letter was received constitutes a violation of 15 U.S.C. §
                                   24         1692c(c), which is incorporated into the RFDCPA through Cal. Civ. Code §
                                   25         1788.17. Thus, Defendant has also violated Cal. Civ. Code § 1788.17.
                                   26   ///
                                   27   ///
                                   28   ///


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                                    1   25. In the course of collection, Defendant has also initiated multiple telephonic
                                    2        communications to third parties such as Plaintiff’s mother-in-law.           By
                                    3        communicating with said third parties on multiple occasions, Defendant
                                    4        violated 15 U.S.C. § 1692b(3) which is incorporated into the RFDCPA
                                    5        through Cal. Civ. Code § 1788.17. Thus, Defendant has also violated Cal.
                                    6        Civ. Code § 1788.17.
                                    7   26. Moreover, Defendant expressly agreed to refrain from the conduct alleged
                                    8        herein in the matter of United States of America v. Consumer Portfolio
                                    9        Services, Inc., court case no.: SACV14-819 ABC (RNBx) (C.D. Cal. June 11,
                                   10        2014), ECF No. 9, Stipulated Order For Permanent Injunction and Civil
                                   11        Penalty Judgment.
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                                   12   27. Despite this civil penalty in the amount of $2,000,000, Defendant has
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                                   13        continued Defendant’s unfair debt collection practices to the detriment of
                                   14        consumers such as Plaintiff.
                                   15                      CAUSES OF ACTION CLAIMED BY PLAINTIFF
                                   16                                        COUNT I
                                   17      VIOLATION OF THE ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT
                                   18                     Cal. Civ. Code §§ 1788-1788.32 (RFDCPA)
                                   19                               [AGAINST ALL DEFENDANTS]
                                   20   28. Plaintiff incorporates by reference all of the above paragraphs of this
                                   21        Complaint as though fully stated herein.
                                   22   29. The foregoing acts and omissions constitute numerous and multiple violations
                                   23        of the RFDCPA.
                                   24   30. As a result of each and every violation of the RFDCPA, Plaintiff is entitled to
                                   25        any actual damages pursuant to Cal. Civ. Code § 1788.30(a); statutory
                                   26        damages for a knowing or willful violation in the amount up to $1,000.00
                                   27        pursuant to Cal. Civ. Code § 1788.30(b); and reasonable attorneys fees and
                                   28        costs pursuant to Cal. Civ. Code § 1788.30(c) from each Defendant


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                                    1         individually.
                                    2                                        COUNT II
                                    3         VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT (FDCPA)
                                    4                               15 U.S.C. §§ 1692 ET SEQ.
                                    5                              [AGAINST ALL DEFENDANTS]
                                    6   31. Plaintiff incorporates by reference all of the above paragraphs of this
                                    7         Complaint as though fully stated herein.
                                    8   32. The foregoing acts and omissions constitute numerous and multiple violations
                                    9         of the FDCPA, including but not limited to each and every one of the above-
                                   10         cited provisions of the FDCPA, 15 U.S.C. §§ 1692 et seq.
                                   11   33. As a result of each and every violation of the FDCPA, Plaintiff is entitled to
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                                   12         any actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages
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                                   13         for a knowing or willful violation in the amount up to $1,000.00 pursuant to
                                   14         15 U.S.C. § 1692k(a)(2)(A); and reasonable attorney’s fees and costs pursuant
                                   15         to 15 U.S.C. § 1692k(a)(3) from each Defendant individually.
                                   16                                   PRAYER FOR RELIEF
                                   17   WHEREFORE, Plaintiff prays that judgment be entered against Defendant for:
                                   18          • An award of actual damages, in an amount to be determined at trial,
                                   19             pursuant to Cal. Civ. Code § 1788.30(a), against each named Defendant
                                   20             individually;
                                   21          • An award of actual damages, in an amount to be determined at trial,
                                   22             pursuant to 15 U.S.C. § 1692k(a)(1), against each named Defendant
                                   23             individually;
                                   24          • An award of statutory damages of $1,000.00, pursuant to Cal. Civ. Code
                                   25             § 1788.30(b), against each named Defendant individually;
                                   26          • An award of statutory damages of $1,000.00, pursuant to 15 U.S.C. §
                                   27             1692k(a)(2)(A), against each named Defendant individually;
                                   28   ///


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                                    1         • An award of costs of litigation and reasonable attorney’s fees, pursuant
                                    2             to Cal. Civ. Code § 1788.30(c), against each named Defendant
                                    3             individually;
                                    4         • An award of costs of litigation and reasonable attorney’s fees, pursuant
                                    5             to 15 U.S.C. § 1692k(a)(3), against each named Defendant individually;
                                    6             and,
                                    7         • Any and all other relief that this Court deems just and proper.
                                    8                                      TRIAL BY JURY
                                    9   34. Pursuant to the seventh amendment to the Constitution of the United States of
                                   10        America, Plaintiff is entitled to, and demands, a trial by jury.
                                   11
KAZEROUNI LAW GROUP, APC




                                        Dated: July 7, 2015                                           Respectfully submitted,
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                                   13                                                        KAZEROUNI LAW GROUP, APC
                                   14
                                   15                                                               By:
                                   16                                                              MATTHEW M. LOKER, ESQ.
                                                                                                   ATTORNEY FOR PLAINTIFF
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